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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                  Case No.: 0:21-cv-60914-Dimitrouleas/Hunt

   UMG Recordings, Inc.; Capitol Records, LLC;
   Universal Music Corp.; Universal Music – Z
   Tunes LLC; Universal Musica, Inc.; PolyGram
   Publishing, Inc.; Songs of Universal, Inc.; and
   Universal Music - MGB NA LLC,

                  Plaintiffs,

   v.

   Vital Pharmaceuticals, Inc. d/b/a Bang Energy,
   and Jack Owoc, an individual,

               Defendants.
   _________________________________________/

               PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE A
            CORRECTED DAUBERT MOTION CERTIFYING SATISFACTION OF
              THE GOOD FAITH PRE-FILING CONFERRAL REQUIREMENT

          Plaintiffs respectfully request leave to file a corrected Daubert motion due to their

   inadvertent failure to include the certificate of good faith conferral required by Local Rule 7.1(a)(3)

   and to clarify that the pre-filing requirement was, indeed, satisfied.

          1.      Plaintiffs and Defendants conferred before filing their respective Daubert motions

   on July 1, 2022. The parties’ conferral was memorialized, in part, by their joint motion filed on

   June 30, 2022 seeking to seal portions of the parties’ forthcoming Daubert motions. (D.E. 179).

          2.      Despite the parties’ conferral, Plaintiffs mistakenly omitted a certificate of conferral

   in their Daubert motion. (See D.E. 185). As a result, on July 5, 2022, this Court entered an Order

   denying Plaintiffs’ motion. (D.E. 191).

          3.      Plaintiffs’ counsel apologize for their oversight and regret that the Court needed to

   affirmatively raise the issue. Notwithstanding this error, Plaintiffs respectfully request leave to
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   file a corrected Daubert motion to include the required certification, such that their motion can be

   adjudicated on the merits.

           4.      Before filing this motion, Plaintiffs’ counsel conferred with Defendants’ counsel,

   who confirmed that they, too, consider Plaintiffs to have satisfied the pre-filing requirements set

   forth in Local Rule 7.1. Indeed, Plaintiffs and Defendants equally conferred about their respective

   Daubert motions at the same time. Defendants take “no position” as to whether Plaintiffs should

   be permitted to file a corrected Daubert motion.

           5.      Absent relief, Plaintiffs would be prejudiced by their counsel’s failure to include a

   certificate of conferral when the conferral requirement was, indeed, satisfied. See, e.g., Royal

   Bahamian Ass’n, Inc. v. QBE Ins. Corp., 744 F. Supp. 2d 1297, 1302 (S.D. Fla. 2010) (considering

   merits of motion in limine despite party’s failure to comply with Local Rule 7.1 because it would

   “unfairly penalize the parties” for counsel’s violations and would “create a risk of reversible error

   based on evidence which should have been excluded”); Partners Biomedical Sols., LLC v.

   Saltsman, 19-CV-81316, 2021 WL 1647891, at *2 (S.D. Fla. Apr. 27, 2021) (considering merits

   of motion despite party’s inadvertent failure to comply with Local Rule 7.1 because it did not

   prejudice the opposing party).

           WHEREFORE, Plaintiffs respectfully request leave to file a corrected Daubert motion.

                                      GOOD FAITH CONFERRAL

           Plaintiffs’ counsel certify that they conferred with Defendants’ counsel about this motion

   on July 5 and 6, 2022. Defendants do not dispute that the parties met and conferred before filing

   their respective Daubert motions on July 1, 2022. Defendants “take no position regarding any

   motion to file a late certification.”




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   Dated: July 6, 2022                           Respectfully submitted,

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